
PER CURIAM.
The final order granting judgment on the pleadings in favor of the City of Miami is reversed and the cause remanded for further proceedings based on the authority of Woods v. City of Palatka, 63 So.2d 636 (Fla.1953); Town of Palm Beach v. Hovey, 115 Fla. 644, 155 So. 808 (1934); Welsh v. Metropolitan Dade County, 366 So.2d 518, 521 (Fla.3d DCA 1979); Beattie v. City of Coral Gables, 358 So.2d 1131 (Fla.3d DCA 1978); Trumpe v. City of Coral Springs, 326 So.2d 192 (Fla.4th DCA 1976).
